      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 1 of 24




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 1
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 5
                           UNITED STATES DISTRICT COURT
 6
                               DISTRICT OF ARIZONA
 7
                                                     Case No:
 8
 9   FERNANDO GASTELUM,                                 VERIFIED COMPLAINT

10                                      Plaintiff,      1. Americans with Disabilities
                                                                      Act
11
                                                               2. Negligence
12                       vs.                                    3. Negligent
                                                               Misrepresentation
13   TEMPE TOWN LAKE INN LLC,                               4. Failure to Disclose
14                                                       5. Fraud / Consumer Fraud
                                     Defendant.
15                                                       JURY TRIAL REQUESTED
16
17                                    INTRODUCTION
18   1. Plaintiff brings this action pursuant to the Americans with Disabilities Act, 42
19
        U.S.C. §12101 et seq. and corresponding regulations, 28 CFR Part 36 and
20
21      Department of Justice Standards for Accessible Design (“ADA”).
22   2. Plaintiff’s left leg is amputated below the knee. Plaintiff moves with the aid of
23
        a wheelchair or a prosthetic leg. Plaintiff suffers from a disability as this term
24
25      is defined in 42 U.S.C. 12102 and 28 CFR §36.105 (c)(1)(i) which includes,
26      inter alia, “walking, standing, sitting, reaching, lifting [and] bending” and other
27
28
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 2 of 24




 1      activities. A partial missing limb “substantially limit[s] musculoskeletal

 2      function” as a matter of law. 28 CFR § 36.105 (d)(2)(iii)(D).
 3
     3. Plaintiff is constantly and relentlessly segregated and discriminated against,
 4
 5      excluded, denied equal services, or otherwise treated differently than other

 6      individuals because of his disability, and has been denied the opportunity to
 7
        participate in or benefit from services, facilities and opportunities available
 8
 9      people without disabilities.

10   4. Plaintiff incorporates herein Congressional Findings and Purpose set forth in 42
11
        U.S.C. §12-101 and 28 CFR §36.101.
12
13   5. Plaintiff is being subjected to discrimination on the basis of disability in

14      violation of Subchapter III of the Americans with Disabilities Act or has
15
        reasonable ground to believe that that he is about to be subjected to
16
17      discrimination in violation of 42 U.S.C. §12183.
18   6. Plaintiff alleges that he has actual notice that Defendant has failed to comply
19
        with Subchapter III of the ADA, 28 CFR 36 and the 2010 Standards of
20
21      Accessibility Design (“2010 Standards”) as more fully alleged below.
22   7. Plaintiff alleges that he has no obligation to engage in futile gestures as
23
        referenced in 42 U.S.C. §12188(A)(1) and 28 C.F.R. Subpart E
24
25   8. Defendant has discriminated against Plaintiff by the following actions and
26      failures to act –
27
28

                                           2
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 3 of 24




 1      a. Failing to make reasonable modifications in policies, practices, or

 2         procedures which are necessary to afford Plaintiff and others similarly
 3
           situated accessibility to Defendant’s place of public accommodation, thus
 4
 5         violating 42 U.S.C. §12182(b)(2)(A)(ii) and 28 C.F.R. §36.302(a); and

 6      b. Failing to take such steps as may be necessary to ensure that no individual
 7
           with a disability is excluded, denied services, segregated or otherwise treated
 8
 9         differently than other individuals because of the absence of auxiliary aids

10         and services, thus violating 42 U.S.C. §12182(b)(2)(A)(iii); and
11
        c. Failing to remove architectural barriers where such removal is readily
12
13         achievable, thus violating 42 U.S.C. §12182(b)(2)(A)(iii), 28 CFR 36 and

14         the 2010 Standards..
15
                                         PARTIES
16
17   9. Plaintiff is a disabled person and a committed individual to advance the time
18      when places of public accommodations will be compliant with the ADA.
19
        Plaintiff resides in Casa Grande, Arizona.
20
21   10. Plaintiff’s disability includes the amputation of the left leg below the knee.
22      Plaintiff moves with the use of a wheelchair, walker and/or a prostethis.
23
     11. Defendant, TEMPE TOWN LAKE INN LLC, D/B/A Best Western Inn of
24
25      Tempe owns and/or operates hotel at 670 N. Scottsdale, AZ 85281 which is a
26      public accommodation pursuant to 42 U.S.C. § 12181(7)(A) which offers public
27
28

                                            3
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 4 of 24




 1      lodging services See 28 CFR §36.104 and a listing of public accommodations

 2      in 42 U.S.C. §12181(7).
 3
                                      JURISDICTION
 4
 5   12. District Court has jurisdiction over this case or controversy by virtue of 28

 6      U.S.C. §§ 28-1331 and 42 U.S.C. § 12188 and 28 U.S.C. § 1367.
 7
     13. Plaintiff brings this action as a private attorney general who has been personally
 8
 9      subjected to discrimination on the basis of his disability, see 42 U.S.C.12188

10      and 28 CFR §36.501.
11
     14. Venue is proper pursuant to 28 U.S.C. § 1391.
12
13                        STANDING TO SUE JURISDICTION

14   15. Plaintiff reviewed 3rd party and 1st party lodging websites to book an
15
        ambulatory and wheelchair accessible room. Plaintiff was denied equal
16
17      opportunity to use and enjoyment of a critical public accommodation through
18      Defendant’s acts of discrimination and segregation alleged below.
19
     16. Plaintiff intends to book a room at the Defendant’s hotel once Defendant has
20
21      removed all accessibility barriers, including the ones not specifically referenced
22      herein, and has fully complied with the ADA.
23
     17. Because of Defendant’s denial of Plaintiff’s use and enjoyment of a critical
24
25      public accommodation through Defendant’s acts of discrimination and
26      segregation, he is deterred from visiting that accommodation by accessibility
27
        barriers and other violations of the ADA.
28

                                            4
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 5 of 24




 1   18. Defendant has denied Plaintiff -

 2         a. The opportunity to participate in or benefit from the goods, services,
 3
              facilities, privileges, advantages, or accommodations at its hotel.
 4
 5         b. The right to be included in the population at large who benefits from

 6            Defendant’s hotel without being segregated because his disability.
 7
     19. Plaintiff intends to book a room at Defendant’s hotel in the future but he will
 8
 9      likely suffer repeated injury unless and until the barriers of accessibility and

10      ambulatory and wheelchair accessibility barriers have been removed.
11
                            CONTINUING JURISDICTION
12
13   20. ADA violations which form the subject matter of this Verified Complaint

14      change frequently due to regular maintenance, remodels, repairs, and normal
15
        wear and tear.
16
17   21. Defendant’s ADA Violations are of the type that can reasonably be expected to
18      start up again, allowing Defendant to be free to return to the old ways' after the
19
        threat of a lawsuit had passed.
20
21   22. If one or more ADA violation are cured, Plaintiff alleges that they were cured
22      and timed to anticipate the current lawsuit, and not as a good faith effort to
23
        comply with the ADA.
24
25   23. To remedy the violations of 28 CFR 36.302(e), Defendant would be required
26      not only to modify all 1st and 3rd party lodging websites, but would be required
27
        to do so truthfully and accurately.
28

                                              5
       Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 6 of 24




 1
 2                                       COUNT ONE
 3
                     Violation of Plaintiff’s Civil Rights under the ADA
 4
 5   24. Plaintiff realleges all allegations heretofore set forth.

 6   25. By virtue of his disability, Plaintiff requires an ADA compliant lodging facility
 7
        particularly applicable to his mobility, both ambulatory and wheelchair assisted.
 8
 9   26. On or about February 28, 2018 Plaintiff intended to visit Phoenix and spend the

10      night there. He visited a 3rd party website www.expedia.com to book a room.
11
     27. 3rd party website disclosed general availability and description of Defendant’s
12
13      hotel.

14   28. 3rd party website states, “Accessibility- If you have requests for specific
15
        accessibility needs, please note them at check-out when you book your room.
16
17          Accessible bathroom
            Roll-in shower
18          In-room accessibility”
19
     29. 3rd party website failed to identify and describe mobility related accessibility
20
21      features and guest rooms offered through its reservations service in enough
22      detail to reasonably permit Plaintiff to assess independently whether
23
        Defendant’s hotel meets his accessibility needs.
24
25   30. 3rd party website failed to disclose the following accessibility features in
26      enough detail to reasonably permit Plaintiff to assess independently whether
27
        Defendant’s hotel and guest rooms meets his accessibility needs:
28

                                              6
     Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 7 of 24




 1       a. Whether accessible routes comply with § 206 of the 2010 Standards; and

 2       b. Whether operable parts on accessible elements, accessible routes and
 3
            accessible rooms comply with §§205 and 803 of the 2010 Standards; and
 4
 5       c. Whether any accessible means of egress comply with §207 of the 2010

 6          Standards.
 7
         d. Whether parking spaces comply with §§208 and 502 of the 2010
 8
 9          Standards; and

10       e. Whether passenger loading zones comply with §§209 and 503 of the
11
            2010 Standards; and
12
13       f. Whether any drinking fountains comply with §211 of the 2010 Standards;

14          and
15
         g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804
16
17          of the 2010 Standards; and
18       h. Whether toilet facilities and bathing facilities comply with §213 of the
19
            2010 Standards; and
20
21       i. Whether any washing machines and clothes dryers comply with §§214
22          and 611 of the 2010 Standards; and
23
         j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;
24
25          and
26       k. Whether dining surfaces and work surfaces comply with §§226 and 902
27
            of the 2010 Standards; and
28

                                         7
     Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 8 of 24




 1       l. Whether sales and service elements comply with §227 of the 2010

 2          Standards; and
 3
         m. Whether any saunas and steam rooms comply with §§241 and 612 of the
 4
 5          2010 Standards; and

 6       n. Whether any swimming pools, wading pools and spas comply with
 7
            §§242 and 1009 of the 2010 Standards; and
 8
 9       o. Whether floor and ground surfaces comply with §302 of the 2010

10          Standards; and
11
         p. Whether changes in level comply with §303 of the 2010 Standards; and
12
13       q. Whether turning spaces comply with § 304 of the 2010 Standards; and

14       r. Whether floor and ground spaces comply with §305 of the 2010
15
            Standards; and
16
17       s. Whether knee and toes clearances comply with §306 of the 2010
18          Standards; and
19
         t. Whether protruding objects comply with §307 of the 2010 Standards; and
20
21       u. Whether the reach ranges comply with §308 of the 2010 Standards; and
22       v. Whether the operating parts on accessible features comply with §309 of
23
            the 2010 Standards; and
24
25       w. Whether accessible routes comply with §402 of the 2010 Standards; and
26       x. Whether walking surfaces comply with §403 of the 2010 Standards; and
27
28

                                       8
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 9 of 24




 1         y. Whether doors, doorways and gates comply with §404 of the 2010

 2             Standards; and
 3
           z. Whether ramps comply with § 405 of the 2010 Standards; and
 4
 5         aa. Whether curb ramps comply with §406 of the 2010 Standards; and

 6         bb. Whether any elevators comply with §407 of the 2010 Standards; and
 7
           cc. Whether any platform lifts comply with §410 of the 2010 Standards; and
 8
 9         dd. Whether any stairways comply with §504 of the 2010 Standards; and

10         ee. Whether handrails on elements requiring handrails comply with §505 of
11
               the 2010 Standards; and
12
13         ff. Whether the plumbing facilities comply with Chapter 6 of the 2010

14             Standards with respect to all the following subchapters of Chapter 6: §§
15
               602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water
16
17             closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
18             607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats
19
               in bathtubs and shower compartments), and
20
21         gg. Whether service counters comply with 904 of the 2010 Standards.
22   31. Thereafter,     Plaintiff   consulted   Defendant’s      1st   party     website
23
        www.bestwestern.com to determine the information unavailable from the third-
24
25      party website.
26   32. 1st party website failed to identify and describe mobility related accessibility
27
        features and guest rooms offered through its reservations service in enough
28

                                            9
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 10 of 24




 1      detail to reasonably permit Plaintiff to assess independently whether

 2      Defendant’s hotel meets his accessibility needs.
 3
     33. 1st party websites states, “Communication Assistance, Non-Smoking, Roll In
 4
 5      Shower, Mobility Accessible, Full Breakfast”

 6   34. In particular, 1st party website failed to disclose the following accessibility
 7
        features in enough detail to reasonably permit Plaintiff to assess independently
 8
 9      whether Defendant’s hotel and guest rooms meets his accessibility needs:

10         a. Whether accessible routes comply with § 206 of the 2010 Standards; and
11
           b. Whether operable parts on accessible elements, accessible routes and
12
13            accessible rooms comply with §§205 and 803 of the 2010 Standards; and

14         c. Whether any accessible means of egress comply with §207 of the 2010
15
              Standards.
16
17         d. Whether parking spaces comply with §§208 and 502 of the 2010
18            Standards; and
19
           e. Whether passenger loading zones comply with §§209 and 503 of the
20
21            2010 Standards; and
22         f. Whether any drinking fountains comply with §211 of the 2010 Standards;
23
              and
24
25         g. Whether any kitchens, kitchenettes and sinks comply with §§212 and 804
26            of the 2010 Standards; and
27
28

                                           10
     Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 11 of 24




 1       h. Whether toilet facilities and bathing facilities comply with §213 of the

 2          2010 Standards; and
 3
         i. Whether any washing machines and clothes dryers comply with §§214
 4
 5          and 611 of the 2010 Standards; and

 6       j. Whether accessible hotel rooms comply with §224 of the 2010 Standards;
 7
            and
 8
 9       k. Whether dining surfaces and work surfaces comply with §§226 and 902

10          of the 2010 Standards; and
11
         l. Whether sales and service elements comply with §227 of the 2010
12
13          Standards; and

14       m. Whether any saunas and steam rooms comply with §§241 and 612 of the
15
            2010 Standards; and
16
17       n. Whether any swimming pools, wading pools and spas comply with
18          §§242 and 1009 of the 2010 Standards; and
19
         o. Whether floor and ground surfaces comply with §302 of the 2010
20
21          Standards; and
22       p. Whether changes in level comply with §303 of the 2010 Standards; and
23
         q. Whether turning spaces comply with § 304 of the 2010 Standards; and
24
25       r. Whether floor and ground spaces comply with §305 of the 2010
26          Standards; and
27
28

                                         11
     Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 12 of 24




 1       s. Whether knee and toes clearances comply with §306 of the 2010

 2          Standards; and
 3
         t. Whether protruding objects comply with §307 of the 2010 Standards; and
 4
 5       u. Whether the reach ranges comply with §308 of the 2010 Standards; and

 6       v. Whether the operating parts on accessible features comply with §309 of
 7
            the 2010 Standards; and
 8
 9       w. Whether accessible routes comply with §402 of the 2010 Standards; and

10       x. Whether walking surfaces comply with §403 of the 2010 Standards; and
11
         y. Whether doors, doorways and gates comply with §404 of the 2010
12
13          Standards; and

14       z. Whether ramps comply with § 405 of the 2010 Standards; and
15
         aa. Whether curb ramps comply with §406 of the 2010 Standards; and
16
17       bb. Whether any elevators comply with §407 of the 2010 Standards; and
18       cc. Whether any platform lifts comply with §410 of the 2010 Standards; and
19
         dd. Whether any stairways comply with §504 of the 2010 Standards; and
20
21       ee. Whether handrails on elements requiring handrails comply with §505 of
22          the 2010 Standards; and
23
         ff. Whether the plumbing facilities comply with Chapter 6 of the 2010
24
25          Standards with respect to all the following subchapters of Chapter 6: §§
26          602 (drinking fountains), 603 (toilets and bathing rooms), 604 (water
27
            closets and toilet compartments, 605 (urinals), 606 (lavatories and sinks),
28

                                        12
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 13 of 24




 1             607 (bathtubs), 607 (shower compartments), 608 (grab bars), 610 (seats

 2             in bathtubs and shower compartments), and
 3
           gg. Whether service counters comply with 904 of the 2010 Standards.
 4
 5   35. Thereafter Plaintiff called Defendant’s hotel to inquire whether it was

 6      compliant with the ADA and suitable for Plaintiff’s accessibility needs.
 7
     36. Plaintiff spoke with hotel reservations clerk, Jeri. Plaintiff specifically inquired
 8
 9      whether Defendant’s hotel was compliant with the Americans with Disabilities

10      Act and compliant with the specific requirements of accessibility.
11
     37. Reservations clerk responded that the hotel was compliant with the Americans
12
13      with Disabilities Act.

14   38. The clerk mentioned that the total accessible rooms is 4 out of 90 total rooms.
15
     39. Plaintiff subsequently visited the hotel to independently verify that it was, at
16
17      least on the outside, suitable to accommodate his disability.
18   40. Plaintiff noted that the hotel was not compliant with the ADA and was replete
19
        with accessibility barriers in the details which include, without limitation, the
20
21      following areas of non-compliance:
22      a. 208.3.1. The accessible parking is not dispersed to all accessible entrances.
23
        b. 303.2. At least one accessible route has a change in level greater than 1/4
24
25         inch.
26      c. 309.4. Multiple secondary entrances/exits require a twisting of the wrist
27
           motion to open.
28

                                             13
     Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 14 of 24




 1    d. 309.4. At least one secondary entrance/exit requires more than 5 pounds of

 2       force to open.
 3
      e. 309.4. The door to the spa requires a twisting of the wrist motion to open.
 4
 5    f. 309.4. Multiple accessible guest room doors requires a twisting of the wrist

 6       motion to open.
 7
      g. 309.4. The lobby restroom requires a twisting of the wrist motion and more
 8
 9       than 5 pounds of force to open.

10    h. 403.3. Multiple     accessible    routes   have   a   cross   slope   steeper
11
         than 1:48 inches.
12
13    i. 406.4. Multiple curb ramps do not have a top landing.

14    j. 502.3. At least one access aisle does not adjoin to a preferable accessible
15
         route.
16
17    k. 502.4. At least one accessible parking space has a cross slope steeper
18       than 1:48 inches.
19
      l. 502.4. Multiple accessible parking spaces have a running slope steeper
20
21       than 1:48 inches.
22    m. 502.4. Multiple access aisles have a running slope steeper than 1:48 inches.
23
      n. 502.6. One van accessible sign is lower than the required minimum of 60
24
25       inches from the ground to the bottom of the sign.
26    o. 503.3. The passenger loading zone is not marked with an access aisle.
27
28

                                          14
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 15 of 24




 1      p. 505.10.3. Stairway inside bottom handrail extension is less than 1 tread

 2         depth in length.
 3
        q. Incorrect handrails on stairs and upper floor accessible routes.
 4
 5      r. The front counter is inaccessible.

 6      s. There is an unhitched trailer sitting in one of the accessible van parking
 7
           spaces; and
 8
 9      t. Other ADA violations to be discovered through a discovery process.

10   41. As a result of the deficiencies described above, Plaintiff declined to book a room
11
        at the hotel.
12
13   42. The removal of accessibility barriers listed above is readily achievable.

14   43. As a direct and proximate result of ADA Violations, Defendant’s failure to
15
        remove accessibility barriers prevented Plaintiff from equal access to the
16
17      Defendant’s public accommodation.
18   WHEREFORE, Plaintiff prays for all relief as follows:
19
           A. Relief described in 42 U.S.C. §2000a – 3; and
20
21         B. Relief described in 42 U.S.C. § 12188(a) and (b) and, particularly -
22         C. Injunctive relief order to alter Defendant’s place of public
23
               accommodation to make it readily accessible to and usable by ALL
24
25             individuals with disabilities; and
26
27
28

                                            15
         Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 16 of 24




 1           D. Requiring the provision of an auxiliary aid or service, modification of a

 2              policy, or provision of alternative methods, to the extent required by
 3
                Subchapter III of the ADA; and
 4
 5           E. Equitable nominal damages in the amount of $1.00; and

 6           F. For costs, expenses and attorney’s fees; and
 7
             G. All remedies provided for in 28 C.F.R. 36.501(a) and (b).
 8
 9
10                                       COUNT TWO
                                          Negligence
11
12   44. Plaintiff realleges all allegations heretofore set forth.

13   45. Defendant had a duty to Plaintiff to remove ADA accessibility barriers so that
14
          Plaintiff as a disabled individual would have full and equal access to the public
15
16        accommodation.
17   46. Defendant breached this duty.
18
     47. Defendant is or should be aware that, historically, society has tended to isolate
19
20        and segregate individuals with disabilities, and, despite some improvements,
21        such forms of discrimination against individuals with disabilities continue to be
22
          a serious and pervasive social problem1.
23
24   48. Defendant knowingly and intentionally participated in this historical
25        discrimination against Plaintiff, causing Plaintiff damage.
26
27
     1
28       42 U.S.C. § 12101(a)(2)

                                             16
         Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 17 of 24




 1   49. Discrimination against individuals with disabilities persists in the use and

 2        enjoyment of critical public accommodations2.
 3
     50. Defendant’s knowing and intentional persistence in discrimination against
 4
 5        Plaintiff is alleged, causing Plaintiff damage.

 6   51. Individuals with disabilities, including Plaintiff, continually encounter various
 7
          forms of discrimination, including outright intentional exclusion, the
 8
 9        discriminatory effects of architectural, overprotective rules and policies, failure

10        to make modifications to existing facilities and practices, exclusionary
11
          qualification standards and criteria, segregation, and relegation to lesser
12
13        services, programs, activities, benefits, jobs, or other opportunities3.

14   52. Defendant’s knowing and intentional discrimination against Plaintiff reinforces
15
          above forms of discrimination, causing Plaintiff damage.
16
17   53. Census data, national polls, and other studies have documented that people
18        with disabilities, as a group, occupy an inferior status in our society, and are
19
          severely disadvantaged socially, vocationally, economically, and
20
21        educationally4.
22   54. Defendant’s knowing and intentional discrimination has relegated Plaintiff to
23
          an inferior status in society, causing Plaintiff damage.
24
25
     2
26       42 U.S.C. §12101(a)(3)
     3
27       42 U.S.C. §12101(a)(5)
     4
28       42 U.S.C. §12101(a)(6)

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         Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 18 of 24




 1   55. The Nation’s proper goals regarding individuals with disabilities are to assure

 2        equality of opportunity, full participation, independent living, and economic
 3
          self-sufficiency for such individuals 5.
 4
 5   56. Defendant’s knowing and intentional discrimination has worked counter to our

 6        Nation’s goals of equality, causing Plaintiff damage.
 7
     57. Continued existence of unfair and unnecessary discrimination and prejudice
 8
 9        denies people with disabilities the opportunity to compete on an equal basis and

10        to pursue those opportunities for which our free society is justifiably famous,
11
          and costs the United States billions of dollars in unnecessary expenses resulting
12
13        from dependency and nonproductivity6.

14   58. Defendant’s knowing and intentional unfair and unnecessary discrimination
15
          against Plaintiff demonstrates Defendant’s knowing and intentional damage to
16
17        Plaintiff.
18   59. Defendant’s breach of duty caused Plaintiff damages including, without
19
          limitation, the feeling of segregation, discrimination, relegation to second class
20
21        citizen status the pain, suffering and emotional damages inherent to
22        discrimination and segregation and other damages to be proven at trial.
23
     60. By violating Plaintiff’s civil rights, Defendant engaged in intentional,
24
25        aggravated and outrageous conduct.
26
     5
27       42 U.S.C. §12101(a)(7)
     6
28       42 U.S.C. §12101(a)(8)

                                              18
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 19 of 24




 1   61. The ADA has been the law of the land since 1991, but Defendant engaged in a

 2      conscious action of a reprehensible character, that is, Defendant denied Plaintiff
 3
        his civil rights, and cause him damage by virtue of segregation, discrimination,
 4
 5      relegation to second class citizen status the pain, suffering and emotional

 6      damages inherent to discrimination and segregation and other damages to be
 7
        proven at trial
 8
 9   62. Defendant either intended to cause injury to Plaintiff or defendant consciously

10      pursued a course of conduct knowing that it created a substantial risk of
11
        significant harm to Plaintiff.
12
13   63. Defendant is liable to Plaintiff for punitive damages in an amount to be proven

14      at trial sufficient, however, to deter this Defendant and others similarly situated
15
        from pursuing similar acts.
16
17   WHEREFORE, Plaintiff prays for relief as follows:
18          A. For finding of negligence; and
19
            B. For damages in an amount to be proven at trial; and
20
21          C. For punitive damages to be proven at trial; and
22          D. For such other and further relief as the Court may deem just and proper.
23
24
                                      COUNT THREE
25                                Negligent Misrepresentation
26
     64. Plaintiff realleges all allegations heretofore set forth.
27
28

                                             19
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 20 of 24




 1   65. Defendant failed to exercise reasonable care or competence in obtaining or

 2      communicating the information regarding ADA compliance to Plaintiff both on
 3
        the websites and telephonically.
 4
 5   66. Defendant hotel supplied false information to Plaintiff for guidance in

 6      Plaintiff’s business transaction, to wit: the renting of a hotel room.
 7
     67. Defendant’s false statement was made in the course of Defendant’s business in
 8
 9      which Defendant has a pecuniary interest, to wit: renting of rooms.

10   68. Plaintiff justifiably relied on Defendant’s false information.
11
     69. Plaintiff has suffered pecuniary losses as a result of his reliance on Defendant’s
12
13      false information regarding ADA compliance, to wit: he spent time, effort and

14      resources.
15
     70. Defendant either intended to cause injury to Plaintiff or defendant consciously
16
17      pursued a course of conduct knowing that it created a substantial risk of
18      significant harm to Plaintiff.
19
     71. Defendant is liable to Plaintiff for punitive damages in an amount to be proven
20
21      at trial sufficient, however, to deter this Defendant and others similarly situated
22      from pursuing similar acts.
23
     WHEREFORE, Plaintiff prays for relief as follows:
24
25         A. For finding of negligent misrepresentation; and
26         B. For damages in an amount to be proven at trial; and
27
           C. For punitive damages to be proven at trial; and
28

                                            20
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 21 of 24




 1          D. For such other and further relief as the Court may deem just and proper.

 2
 3                                      COUNT FOUR
 4                                     Failure to Disclose

 5   72. Plaintiff realleges all allegations heretofore set forth.
 6
     73. Defendant was under a duty to Plaintiff to exercise reasonable care to disclose
 7
 8      matters required to be disclosed pursuant to 28 CFR 36.302(e) as more fully

 9      alleged above.
10
     74. Defendant was under a duty to disclose matters to Plaintiff that Defendant knew
11
12      were necessary to be disclosed to prevent Plaintiff to be misled by partial

13      disclosures of ADA compliance as more fully alleged above.
14
     75. The compliance with the ADA is a fact basic to the transaction.
15
16   76. Defendant failed to make the necessary disclosures.
17   77. As a direct consequence of Defendant’s failure to disclose, Plaintiff visited the
18
        hotel, but did not book a room because of its non-compliance with the ADA.
19
20   78. Plaintiff has been damaged by Defendant’s non-disclosure.
21   79. Defendant either intended to cause injury to Plaintiff or defendant consciously
22
        pursued a course of conduct knowing that it created a substantial risk of
23
24      significant harm to Plaintiff.
25   80. Defendant is liable to Plaintiff for punitive damages in an amount to be proven
26
        at trial sufficient, however, to deter this Defendant and others similarly situated
27
28      from pursuing similar acts.

                                             21
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 22 of 24




 1   WHEREFORE, Plaintiff prays for relief as follows:

 2          A. For finding of that Defendant failed to disclose information; and
 3
            B. For damages in an amount to be proven at trial; and
 4
 5          C. For punitive damages to be proven at trial; and

 6          D. For such other and further relief as the Court may deem just and proper.
 7
 8
                                     COUNT FIVE
 9                                       Fraud
10                               Common Law and Consumer

11   81. Plaintiff realleges all allegations heretofore set forth.
12
     82. Defendant made a representation as alleged above.
13
14   83. The representation was material.

15   84. The representation was false.
16
     85. Defendant knew that the representation was false or was ignorant to the truth or
17
18      falsity thereof.
19   86. Defendant intended that Plaintiff rely on the false representation.
20
     87. Plaintiff reasonably relied on the misrepresentation.
21
22   88. Plaintiff has a right to rely on the misrepresentation.
23   89. Plaintiff was consequently and proximately damaged by Defendant’s
24
        misrepresentation.
25
26   90. Defendant’s misrepresentation was made in connection with the sale or
27      advertisement of merchandise with the intent that Plaintiff rely on it.
28

                                             22
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 23 of 24




 1   91. Renting of hotel rooms is “merchandise” as this term is defined in A.R.S. §44-

 2      1521(5).
 3
     92. Plaintiff relied on the misrepresentation.
 4
 5   93. Plaintiff suffered an injury resulting from the false misrepresentation

 6   94. Defendant either intended to cause injury to Plaintiff or defendant consciously
 7
        pursued a course of conduct knowing that it created a substantial risk of
 8
 9      significant harm to Plaintiff.

10   95. Defendant is liable to Plaintiff for punitive damages in an amount to be proven
11
        at trial sufficient, however, to deter this Defendant and others similarly situated
12
13      from pursuing similar acts.

14   WHEREFORE, Plaintiff prays for relief as follows:
15
           A. For finding of that Defendant failed to disclose information; and
16
17         B. For damages in an amount to be proven at trial; and
18         C. For punitive damages to be proven at trial; and
19
           D. For such other and further relief as the Court may deem just and proper.
20
21                            REQUEST FOR TRIAL BY JURY

22         Plaintiff respectfully requests a trial by jury in issues triable by a jury.
23
           RESPECTFULLY SUBMITTED this 2nd day of March, 2018.
24
                                         STROJNIK, P.C.
25
26
27
                                         Peter Strojnik, 6464
28                                       Attorneys for Plaintiff

                                               23
      Case 2:18-cv-00697-DLR Document 1 Filed 03/03/18 Page 24 of 24




 1
                                          VERIFICATION
 2
     Plaintiff verifies that he has read the forgoing and that the factual allegations stated above
 3   are true and correct to the best of his knowledge, information and belief. Plaintiff makes
 4   this verification under the penalty of perjury.

 5
                                         /s/ Fernando Gastelum
 6
                                         Authorized Electronically
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